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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


      UNITED STATES OF AMERICA            :
                                          :
                v.                        :       Case 1:21-cr-00314-TFH-1
                                          :
      SHAWN BRADLEY WITZEMANN             :
                                          :
               Defendant.                 :
      _____________________________________


             DEFENDANT SHAWN BRADLEY WITZEMANN’s
     MOTION TO CONTINUE SENTENCING DUE TO CHANGE OF
                        COUNSEL


Plaintiff Shawn Bradley Witzemann by undersigned counsel, hereby moves to

continue the sentencing scheduled in this matter at least 30 days so Defendant’s

new counsel can become familiar with the case.

      Defendant Witzemann has recently retained the John Pierce Law firm to

represent him at the sentencing. Mr. Pierce and his associates need time to read the

documents in the case and research the law and the issues.
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Dated: December 16, 2022           RESPECTFULLY SUBMITTED,
                                        /s/ John M. Pierce
                                        John M. Pierce
                                        Bar ID: CA00096
                                        21550 Oxnard Street
                                        3rd Floor, PMB #172
                                        Woodland Hills, CA 91367
                                        Tel: (213) 400-0725
                                        jpierce@johnpiercelaw.com
                                        Attorney for Defendant
           Case 1:21-cr-00314-TFH Document 53 Filed 12/16/22 Page 3 of 3




                                  CERTIFICATE OF SERVICE

          I, John M. Pierce, hereby certify that on this day, December 16, 2022, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                                /s/ John M. Pierce
                                                   John M. Pierce
